
Per Curiam.
*729Appellant Charles Griffin appeals his probation revocation and resulting sentence, raising twelve issues. We affirm the revocation and sentence and remand only for the entry of a written order specifying which conditions of the probation agreement were violated. As the State properly concedes, although the trial court orally pronounced the violations of probation, the record lacks a written order. See Robinson v. State , 74 So.3d 570, 572 (Fla. 4th DCA 2011) ("Even though the record is clear, a formal, written order specifying each condition of probation violated must be entered in this case. Therefore, we remand for entry of an order in conformity with this opinion.").
Affirmed and remanded with directions.
Warner, May and Forst, JJ., concur.
